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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Motorola Solutions, Inc., et al.
                                               Plaintiff,
v.                                                          Case No.: 1:17−cv−01973
                                                            Honorable Charles R. Norgle
                                                            Sr.
Hytera Communications Corporation Ltd., et
al.
                                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 3, 2019:


        MINUTE entry before the Honorable Jeffrey Cole: The Joint Motion to Modify
Pretrial Disclosure Deadlines [603] is granted. No appearance is necessary on the motion.
However, the motion is granted based on the express statement both by phone this
afternoon and in the Joint Motion that "[t]hese modification do not affect the November 1,
2019 trial date, or the October 1, 2019 deadline for the parties to file their Joint Pretrial
Order...." [603]. The following deadline extension is entered: 1. Reply expert reports are
due by 9/3/2019, 2. Hytera to provide trial exhibit list and trial deposition designations;
objections to Motorola exhibit list, objections to Motorola deposition designations, and
counter−designations by 9/9/2019, 3. Motorola to provide objections to Hytera exhibit list,
objections to Hytera deposition designations, and counter−designations by 9/17/2019, 4.
Hytera to provide response to draft jury instructions and verdict form by 9/17/2019, 5.
Motorola to provide draft Pre−Trial Order to Hytera by 9/18/2019, 6. Hytera to provide its
comments and additions to draft Pre−Trial Order to Motorola by 9/25/2019. Mailed
notice(sxw, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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